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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES - GENERAL                        AMENDED
 Case No.    CV 20-1374-CBM(MAAx)                                          Date   APRIL 5, 2021
 Title       Douglas Kirkland v. Nausicaa Rampony et al




 Present: The               CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE
 Honorable
                 Yolanda Skipper                                                  N/A
                  Deputy Clerk                                         Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                          Attorneys Present for Defendant
                      N/A                                               N/A
  Proceedings:           In Chambers-Off the Record


 The Scheduling Conference, currently set for April 6, 2021, is hereby taken off calendar. The Court
 will set the following dates:

 Initial disclosures shall be completed by April 23, 2021.
 ADR-1 Form shall be filed on or before April 23, 2021.
 Motions to amend no later than May 25, 2021.
 Fact discovery shall be completed on or before October 1, 2021.

 Initial Expert disclosure due no later than October 15, 2021.
 Rebuttal expert disclosure completion due no later than November 15, 2021.
 Expert discovery shall be completed on or before November 30, 2021

 Settlement conference shall be held on or before December 15, 2021.

 Motions shall be set for oral argument on or before January 25, 2022 at 10:00 a.m.

 Pre Trial Conference is set on March 29, 2022 at 2:30 p.m.

 Jury Trial is set on April 26, 2022 at 10:00 a.m.(est. 4-5 days).
                                                                                                :
                                                           Initials of Preparer           YS




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